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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION



UNITED STATES OF AMERICA


VS.                           CASE NO. 4:02CR000190-(7) JMM


RONALD S. CECIL


                                             ORDER

       Defendant’s unopposed Motion for Early Termination of Supervision is granted (#416).

Defendant is granted early release from supervised release as of the date of this Order.

       The Clerk of the Court is directed to provide a copy of this Order to the United States

Probation Office and a copy to the United States Marshal.

       IT IS SO ORDERED THIS 14            day of January , 2010.




                                                     James M. Moody
                                                     United States District Judge
